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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MINNESOTA
RONALDO LIGONS,                                     File No. 15-CV-2210, PJS/BT
BARRY MICHAELSON,
JOHN ROE, and JANE ROE,
JOHN MILES AND JANE MILES,
JOHN STILES AND JANE STILES,
individually, and on behalf of those similarly situated,

       Plaintiffs,
v.                                                             SECOND AMENDED

MINNESOTA DEPARTMENT OF CORRECTIONS,                           COMPLAINT

THOMAS ROY,                                                    JURY DEMANDED
Minnesota Commissioner of Corrections,                         for all claims triable to
in his official capacity,                                      the jury;

DR. DAVID A. PAULSON, M.D.,                                    EQUITABLE RELIEF
in his individual and his official capacities for actions
under color of law as Medical Director,                        AND DECLARATORY
Minnesota Department of Corrections,
                                                               RELIEF DEMANDED

NANETTE LARSON,                                                FOR CLASS CLAIMS
in her individual and her official capacities
for actions under color of law as Health Services Director,    AND INDIVIDUAL
Minnesota Department of Corrections,
                                                               CLAIMS AMENABLE
Dr. D. QUIRAM, M.D.,
in his individual and his official capacities for              TO DECLARATORY
actions under color of law as Plaintiffs’ treating physician
at Minnesota Correctional Facility, Stillwater,                AND EQUITABLE

Dr. R. HANSON, M.D.,                                             RELIEF
in his individual and his official capacities
for actions under color of law as Plaintiffs’ treating physician
at Minnesota Correctional Facility, Stillwater,

JOHN and JANE DOES A - J,
in their respective individual and official capacities
for actions under color of law as staff of
Minnesota Correctional Facilities, Stillwater and Faribault,


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       and

CENTURION OF MINNESOTA, L.L.C.,

         Defendants,

INTRODUCTION

       Plaintiffs are inmates of the Minnesota Department of Corrections. The plaintiff

class representatives, RONALDO LIGONS and BARRY MICHAELSON, suffer from

the serious medical need, disability, and life-threatening viral disease known as hepatitis-C

(HCV for “hepatitis-C virus”). Hepatitis C infects nearly four million Americans and kills

more people than HIV/AIDS, according to the Center for Disease Control and Prevention

(CDC).

       HCV was a “silent epidemic,” growing by the year in and out of prisons, infecting

entire families.   Prior to late 2013, HCV treatment consisted of “chemo-like”, toxic

Interferon injections, which lasted nearly a year, yielding with low levels of success and

serious, debilitating flu-like side effects.   See CDC publication recognizing the 25th

Anniversary of the discovery of HCV, June 17, 2014 (Exhibit 1).

       In October 2013, the Food and Drug Administration’s (FDA’s) announcement of

new “breakthrough” direct-acting antiviral (DAA) drugs to cure HCV caused the American

Association for the Study of Liver Disease (AASLD) and the Infectious Disease Society of

America (IDSA), the two relevant professional medical associations concerned with the

treatment and cure of HCV, to convene the AASLD/IDSA “HCV Guidance Panel.”

Thirty national experts, including gastroenterologists and hepatologists with experience in


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treating HCV, comprise he HCV Guidance Panel.

        Rapidly changing science required HCV practitioners to have professional guidance

on the new community standard of professional medical care for treatment of HCV with

the new FDA-approved breakthrough DAA drugs that did, in fact, cure all stages and levels

of HCV infection with twelve weeks of oral medication. Physicians who prescribed older

treatments that did not cure HCV could no longer justify such medically outmoded

practice.1

        The purpose of the HCV Guidance Panel remains keeping practitioners abreast of

rapidly changing HCV treatments, evaluating new drugs and treatment regimes through

publishing: "Recommendations for the Testing, Managing and Treating Hepatitis C. See

http://www.hcvguidelines.org)," which states that the AALSD/IDSA HCV Guidance Panel

website is to provide:

        "...up to date recommendations for HCV practitioners on optimal screening,
        management and treatment for adults with HCV infection in the United
        States, using a rigorous review process to evaluate the best available
        evidence....This (website) was conceived as a living document that would
        reside online and undergo real-time revisions as the field evolved."

        Both Plaintiffs began requesting that Defendants provide treatment with the FDA

“breakthrough” DAA new medications in late 2013, under the trade names Sovaldi and

Olysio.

        Jan. 2014: “FDA breakthrough" #1 Sovaldi/Olysio Standard-of-Care


1
    See AASLD/IDSA HCV Guidance Panel, “Hepatitis C Guidance: AASLD-IDSA
     Recommendations for Testing, Managing, and Treating Adults Infected with Hepatitis C
     Virus,” accepted for publication in Hepatology magazine, June 3, 2015,
     http://www.hcvguidelines.org/June 29, 2015 (Ex. 2).

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        The AASLD/IDSA adopted the “breakthrough” drug 12-week daily oral

medication protocol with the 95% cure rate, as the HCV medical treatment community

medical standard of care in January 2014, consistent with the medical treatment

community standard of medical care definition of U.S. v. Kubrick, 444 U.S. 111 (1979).

This process for the HCV Standard of Care is explained in the article by the HCV

Guidance Panel published on the www.hcvguidelines.org website on June 29, 2015 infra

and supra.

        By June 2014, the Federal Bureau of Prisons (FBOP), the Center for Disease

Control, the United States Public Health Service, the Food and Drug Administration, and

the United States Department of Veterans Affairs had all recognized the changed standard

of care within the hepatitis-C medical treatment community for HCV patients in their

approval and implementation of one-pill-per-day, 12-week protocols for the treatment of

HCV patients, as the up-to-date standard of care in the hepatitis-C treatment community.

        June 2015: FDA “Breakthrough #2 – Harvoni/Viekira-Pak Standard of Care

        In October 2014, the FDA approved more advanced HCV breakthrough direct-

acting antiviral (DAA) drugs that cure at a 95% rate, and eliminate Interferon injections

completely. Under the trade names Harvoni and Viekira-Pak, the AASLD/IDSA website

www.hcvguidelines.org identified these as important advances in HCV treatment in January

2015.

        During the next six months the AASLD/IDSA “HCV Guidance Panel” considered

whether the elimination of Interferon and better tolerance of the new medication changed

previous (January 2014) “Standard-of-Care” recommendations. On June 29, 2015, the


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AASLD/IDSA updated www.hcvguidelines.org to establish the HCV standard of care,

which requires that treatment providers eliminate Interferon in any form as a

recommended treatment for HCV.            This means that only the October 2014 non-

Interferon "breakthrough" DAA drugs, trade-named Harvoni and Viekira-Pak, now meet

the undisputed community standard of care for all HCV treatment providers.

       The current AASLD/IDSA Standard-of-Care also requires that HCV treatment

providers treat all HCV-infected patients as soon as possible with the most-recently

approved Direct Acting Anti-viral (DAA) drugs to remove the HCV infection, no matter

what the level of infection. Chemical dependency testing and treatment are not relevant,

nor is a correction facility’s claim of lack of resources to justify treating some more severely

symptomatic patients, and not others.

            AASLD/IDSA Standard of HCV Care: “Mandatory for All M.D.’s”

       As of June 29, 2015, Medical Doctors and other HCV treatment providers are

professionally obligated to prescribe non-Interferon Direct Acting Anti-virals (DAA)

(currently Harvoni or Viekira-Pak), to any patient presenting HCV positive, with

recommended treatment to begin immediately at any level of infection, no matter how

recent or low the level of the infection. This is the case for all M.D.’s irrespective of their

employment situation, including Defendant MN DOC and its contractors.

       In light of the "Recommendations for HCV Practitioners" available on the website:

www.hcvguidelines.org, there are no medically justifiable reasons for licensed medical

doctors (M.D.’s) practicing in the state of Minnesota, or elsewhere with access to the

Internet, to refuse or decline to prescribe either Harvoni or Viekira-Pak to every patient


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who presents with an HCV-positive diagnosis.               The HCV community standard of

professional medical care requiring the prescribing of DAA’s has been clearly established

since January 2014, Non-Interferon DAA treatment has been the clearly established

community standard of professional medical care for HCV since June 2015.

         The plaintiffs, individually and as a class, sue the Defendants in their respective,

specified individual and official capacities for their joint and several actions that constitute

deliberate indifference to their serious medical needs as Hepatitis C patients, in violation of

their clearly established Eighth and Fourteenth Amendment rights under the United States

Constitution, for which 42 U.S.C. §1983 provides declaratory, equitable, and legal

remedies. Defendants have refused Plantiffs’ repeated requests to be treated with the up-

to-date medications that cure all stages of HCV infection, irrespective of viral load, and,

with minor variations, irrespective of genotype of HCV, for non-medical reasons of

administrative convenience or cost, which are not related to the individual medical needs of

Plaintiffs.

         Plaintiffs represent a subclass of inmates who:

    • are infected with HCV but do not know it, or

    •    fear infection or reinfection with HCV because of the Defendants’ joint and several

         deliberate indifference to the foreseeability of HCV infection, because of the

         absence of HCV testing, in contrast to HIV screening and prison practices including

         bunking non-infected inmates with known HCV-infected inmates.

         The plaintiffs, individually and as a class, sue the Minnesota Department of

Corrections, a recipient of federal monies, Commissioner Tom Roy, Centurion of


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Minnesota, L.L.C., a recipient of federal monies, and other named Defendants in their

official capacities for acts constituting discrimination because of their disability of Hepatitis

C under Title II of the Americans with Disabilities Act as Amended and § 504 of the

Rehabilitation Act of 1973, in the defendants’ deliberate indifference in refusing to

accommodate reasonably their disability of HCV infection by (a) knowing of their

disabilities, (b) knowing of their requests for DAA’s that are the community standard of

professional medical care for HCV, (c) knowing that the AASLD/IDSA established DAA’s

as the community standard of professional medical care for HCV, and (d) refusing to

provide the DAA’s to the Plaintiffs. The Eleventh Amendment is no bar to declaratory,

prospective equitable, or legal relief under Title II or the Rehabilitation Act.

       The plaintiff class representatives have exhausted their administrative remedies

under governing national and state laws. The plaintiffs demand jury trial for all claims

triable to the jury.

JURISDICTION AND VENUE

    1. Plaintiffs set forth claims under U.S. Const. amend. VIII and XIV, 42 U.S.C. §

        12131 et seq., and 29 U.S.C. § 791 et seq. 28 U.S.C. §§ 1331 (federal question)

        and 1343(a)(4) (federal civil rights question) confer subject matter jurisdiction on

        this court.

    2. The substantial number of events in this lawsuit took place in Washington and

       Ramsey Counties, state of Minnesota. Plaintiffs lay venue in this court per 28

       U.S.C. §1391 and LR D. Minn. 83.11.




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PLAINTIFFS

  3. Plaintiff RONALDO LIGONS (LIGONS) has been an inmate of MN DOC and its

  correctional facilities since 1992, and is now lodged at MCF Faribault. Ligons was not

  informed by Defendant MN DOC agents until 1998 that he was HCV positive.

  4.The 48-week, toxic Interferon injection treatment MN DOC provided to Mr. Ligons

  failed in 2006, despite Mr. Ligons’ enduring nearly a year of side effects.

  5. Mr. Ligons is to be released from MN DOC custody in more than three months,

     viz., more than twelve weeks from the date of suit.

  6. As the direct result of the policy and practice of MN DOC and CENTURION OF

      MINNESOTA, L.L.C., and individual Defendants’ conduct, Mr. LIGONS has

      been denied the current standard-of-care one-pill per day, non-Interferon twelve

      week HCV treatment that cures HCV at a 95% rate, in deliberate indifference to

      his serious medical needs as a Hepatitis C sufferer, and because of his disability as

      a hepatitis C sufferer.

  7. Mr. Ligons has been denied HCV curative medication because of non-medical

    MNDOC policies designed to ration medication to a limited number of inmates, for

     administrative    convenience   or   money,     without   regard    to     Mr.   Ligons’

     individualmedical needs, his disabling case of HCV, and the current community

     standard of professional medical care for HCV.

  8. Plaintiff BARRY MICHAELSON (Michaelson) is an inmate of the MN DOC at

     MCF Stillwater. Defendant MN DOC agents, representatives, or employees

     informed Mr. Michaelson that he was HCV-negative in October 2009, when he


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      entered MN DOC custody.

9. Mr. Michaelson tested HCV positive in 2010, only after being double-bunked with a

bleeding, HCV-positive cellmate and his exposure to other sources of HCV in MN

DOC facilities. Mr. Michaelson is to be released in more than three (3) months, viz.,

more than twelve weeks, from the date of suit.

10. 8. As the direct result of the policy and practice of MN DOC and CENTURION

OF MINNESOTA, L.L.C., and individual Defendants’ conduct, Mr. LIGONS and

Mr. MICHAELSON have been denied the current standard-of-care one-pill per day,

twelve week HCV treatment that cures HCV at a 95% rate, in deliberate indifference

to their serious medical needs as Hepatitis C sufferers, and because of their disabilities

as hepatitis C sufferers.

11. Mr. Michaelson has been denied HCV curative medication because of non-

medical MNDOC policies designed to ration medication to a limited number of

inmates for administrative convenience or money, without regard to Mr. Michaelson’s

individual medical needs and disabling case of HCV.

12. In the cases of Mr. Ligons and Mr. Michaelson, HCV is a disability and disease of

the digestive and circulatory systems that substantially and materially impairs their

respective major life activities of (a) self-caring, (b) social interaction with other persons,

(c) manual tasks particularly those involving knives, scissors, pins, needles,

toothbrushes, eating utensils, or shaving razors, (d) reproduction, and (e) life itself.

13. Each day that MN DOC delays treatment of Mr. Ligons’ and Mr. Michaelson’s

cases of HCV, the likelihood of cirrhosis of the liver, liver cancer, a liver transplant,


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and death from HCV grow for each of them, as well as each member of the Class, as

does the likelihood of infection for those with whom they come in contact in MN

DOC facilities and, after their respective release, with whom they make contact in the

general public.

14. The Plaintiffs' liver, digestive system, and circulatory systems continue to

deteriorate, as do those of other members of the named class, the subclass of plaintiffs

with known cases of HCV that are not treated, and the subclass of plaintiffs with

unknown and untreated cases of HCV.

15. Mr. Ligons and Mr. Michaelson have demanded HCV treatment in accordance

with the one-pill a day, twelve week treatment protocol for Sovaldi that the FDA, U.S.

Public Health Service, and Center for Disease Control have approved, and which the

Federal Bureau of Prisons (FBOP) has approved for administration to HCV-positive

federal inmates.

16. The Defendants jointly and severally have denied treatment to plaintiffs Ligons and

Michaelson because of the Defendants’ respective polic(y/ies) and acts designed to

limit or ration anti-HCV medication for non-medical reasons of administrative

convenience or cost, unrelated to the individual medical needs of Plaintiffs, or the

medical benefits they would derive from being cured of HCV.

17. Plaintiffs Ligons, Michaelson and those similarly situated, are that portion of the

approximately 9,000 inmates at the nine Minnesota Department of Correction

(MnDOC or MN DOC) facilities who have tested positive, or will test positive, for

HCV (15% would be 1350 inmates). MN DOC admits conservatively that 15% of


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9,000 inmates, or 1,350 inmates, are infected with HCV.

17. Plaintiffs Ligons and Michaelson have requested the up-to-date 12-week HCV

treatment which the FDA has approved since December 2013 and confirmed since

December 2014, and which the AASLD/IDSA established at the community standard

of professional medical care in January 2014, and confirmed in June 2015, with the

added prohibition against inferferon.

18. The Federal Bureau of Prisons (FBOP) adopted the FDA-approved 12-week

HCV treatment no later than June 2014.

19. Plaintiffs Ligons and Michaelson reported their respective requests for the FDA-

approved 12 week treatment to MN DOC Medical Director David Paulson, M.D.,

and MN DOC Health Services Director Nanette Larson, the official who has final

authority to approve or deny medical grievances of Minnesota Department of

Corrections inmates.

20. Medical Director Dr. Paulson and Health Services Director Larson, jointly and

severally, individually and officially, have denied Ligons’ and Michaelson’s respective

requests for the FDA-approved 12 week treatment, although both Ligons and

Michaelson both meet the AASLD/IDSA requirements for immediate Direct Acting

Antiviral (DAA), non-Interferon treatment.

21. Plaintiffs Ligons and Michaels have exhausted their respective administrative

remedies under governing federal and state law.

                              Other Class Members

22. Plaintiffs JOHN ROE and JANE ROE are the estimated 50-80% of male and


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female inmates of MN DOC institutions who have not been screened for HCV, as

they were for HIV, and do not know their HCV status.

23. Plaintiffs JOHN MILES AND JANE MILES are the respective male and female

inmates of MN DOC institutions who have tested positive for HCV, and have not

received treatment for HCV, in compliance with the professional standard of medical

care for HCV-positive individuals that the FDA, FBOP, CDC, U.S. Public Health

Service, and U.S. Department of Veterans Affairs approved since December 2013.

24. Plaintiffs JOHN STILES AND JANE STILES are the respective male and female

inmates of MN DOC institutions who are HCV-positive, do not know that they are

HCV-positive, and have not received treatment for HCV, in compliance with the

professional standard of medical care for HCV-positive individuals that the FDA,

FBOP, CDC, U.S. Public Health Service, and U.S. Department of Veterans Affairs

approved since December 2013, and which the AASLD/IDSA established in January

2014 and confirmed in June 2015, with the added prohibition against interferon.

25. All Plaintiffs are daily exposed to HCV infection, or re-infection while

incarcerated, due to the deliberate indifference of Defendants who have not adopted

the safer, more effective treatment protocols for HCV treatment adopted by the CDC,

U.S. Public Health Service, and Federal BOP to prevent infection and re-infection of

inmates.

26. Plaintiffs Ligons and Michaelson reported the FBOP adoption of the FDA-

approved 12 week protocol to Dr. Paulson.

27. Dr. Paulson denied Messrs. Ligons’ and Michaelson’s respective requests.


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28. Defendants’ knowing refusal to make available the safer and more effective cure

for Plaintiffs' HCV infection, and continuing a policy of refusing to make the 12-week

treatment and cure available for non-medical reasons of administrative convenience

and cost, are prolonging the harm HCV is causing to named Plaintiffs' bodies and life

expectancies, and those of other MN DOC inmate class member and other MN DOC

inmate subclass members, and demonstrate deliberate indifference to the plaintiffs’

respective serious medical needs.

                                       Defendants

29. Defendant MINNESOTA DEPARTMENT OF CORRECTIONS (MN DOC,

MnDoc, MnDOC) is an agency of the state of Minnesota, with its principal place of

business and headquarters in the city of St. Paul, Ramsey County, state of Minnesota,

and is a recipient of federal funds.

30. Plaintiffs sue Defendant MN DOC for creation and implementation of policies

that

   (a) have directly inflicted harm and demonstrated deliberate indifference to the

   disability, disease, and serious medical needs of plaintiffs, in defiance of the

   Plaintiffs’ clearly established rights under U.S. Const. amend. VIII and XIV

   through 42 U.S.C. § 1983, and

(b) discriminated against Plaintiffs on the basis of their disability in defiance of Title II

of the Americans with Disabilities Act as Amended at 42 U.S.C. § 12131 et seq., § 504

of the Rehabilitation Act of 1973 at 29 U.S.C. § 791 et seq.


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31. Defendant THOMAS ROY, an adult individual, (Roy, Commissioner Roy,

   Commissioner) is the Commissioner of Corrections of the MINNESOTA

   DEPARTMENT OF CORRECTIONS (MN DOC), whom Minnesota Governor

   Mark Dayton appointed as Commissioner of Corrections, is responsible for policy,

   administration and supervision of staff within MN DOC during all times relevant to

   this action, and is sued in his official capacity.

32. Defendant DAVID A. PAULSON, M.D. is an adult individual and the Medical

   Director of MN DOC, with his office in the Central Office of MN DOC,

   responsible for medical services within the MN DOC system.

33. Dr. Paulson admitted in correspondence on March 3, 2015 that he is aware of the

   AASLD/IDSA guidelines, and that he has declined to prescribe DAA medications

   as such guidelines require in MN DOC Hepatitis C treatment protocols.

34. Plaintiffs sue Defendant David Paulson in his respective individual and official

   capacities for actions taken under color of law as Medical Director, MN DOC.

35. Defendant NANETTE LARSON, R.N. is an adult individual and the Director of

   Health Services in the Central Office of MN DOC.

36. Grievances arising from the denial of medical care, and the denial of Plaintiffs’

   requested medical care, by MN DOC staff that are appealed to the Central Office

   are reviewed and ruled upon by NANETTE LARSON in accordance with

   governing federal law, state law, and applicable MN DOC regulations having the

   force of law.


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37. On information and belief after reasonable inquiry by the plaintiffs, grievances

   arising from the denial of medical care, and the denial of Plaintiffs’ requested

   medical care, by MN DOC staff that are appealed to the Central Office are

   reviewed and ruled upon by NANETTE LARSON, after consultation with

   Defendant PAULSON.

38. Plaintiffs sue Defendant LARSON in her individual and official capacities for her

   actions taken under color of law as Director of Health Services, MN DOC.

39. DR. D. QUIRAM, M.D., and DR. R. HANSON, M.D., adult individuals, are

   treating physicians of Plaintiffs respectively.

40. DR. QUIRAM and DR. HANSON provide medical services to Plaintiffs, pursuant

   to contract with MN DOC.

41. DR. QUIRAM and DR. HANSON have the obligation to provide independent,

   individualized, safe, effective medical care to each Plaintiff, consistent with current

   AASLD/IDSA community standards of professional medical care applicable to all

   HCV medical care providers, per U.S. v. Kubrick, 444 U.S. 111 (1979).

42. Plaintiffs sue DR. QUIRAM and DR. HANSON in individual and official

   capacities for action taken under color of law as Plaintiffs’ treating physicians under

   contract to MN DOC through Defendant CENTURION OF MINNESOTA,

   L.L.C., for their deliberately indifferent failure to treat Plaintiffs’ disability, disease,

   and serious medical needs of hepatitis C in compliance with current standards of

   individualized professional medical care.


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43. Defendants JOHN and JANE DOES A – J, adult individuals, are male and female

   doctors, nurses, case managers, correctional officers, supervisors, and MN DOC

   employees, agents, or representatives, whose work places are MCF Stillwater or

   MCF Faribault, charged with responding to requests for medical care for hepatitis

   C from named Plaintiffs, or responding to requests for medical care for hepatitis C

   from now-unknown inmates of the MN DOC.

44. Plaintiffs sue DEFENDANTS JOHN AND JANE DOE A – J in their respective

   individual and official capacities for actions taken under color of law for their

   deliberately indifferent failure to treat Plaintiffs’ disability, disease, and serious

   medical needs of hepatitis C in compliance with current standards of individualized

   professional medical care.

45. Defendant CENTURION OF MINNESOTA, L.L.C. (CENTURION), is a for-

   profit limited liability company with its principal business and headquarters in

   Minnesota, doing business in Minnesota.

46. Defendant   CENTURION          OF    MINNESOTA,          L.L.C.   (CENTURION),

   previously misnamed CENTENE CORPORATION, is a recipient of federal

   funds.

47. Defendant CENTURION contracted with MN DOC to provide medical treatment

   services to MN DOC inmates for sixty-seven million dollars ($67,000,000),

   beginning on 1 January 2014.

48. Plaintiffs sue Defendant CENTURION for creation and implementation of


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   policies, pursuant to contract with MN DOC, that have directly inflicted harm and

   demonstrated deliberate indifference to the disability, disease, and serious medical

   needs of plaintiffs, in defiance of U.S. Const. amend. VIII and XIV through 42

   U.S.C. § 1983, Title II of the Americans with Disabilities Act as Amended at 42

   U.S.C. § 12131 et seq., and § 504 of the Rehabilitation Act of 1973 at 29 U.S.C. §

   791 et seq.

49.      Because of the "silent epidemic" of HCV-positive inmates entering the

   MNDOC system, and the high-costs of treating HVC infections, the Defendants

   MNDOC and Centurion have instituted a policy of rationing anti-HCV medication

   to as few inmates as possible, for reasons of administrative convenience and cost,

   unrelated to the medical needs of individual inmates, who are the Plaintiffs.

                          Documents Provided to Plaintiffs by
                       MN DOC and Dr. Paulson, M.D. in 2015
              Admit Multiple Breaches of the AASLD/IDSA Community
         Standardof Professional Medical Care from January 2014 to the Present.

50. As recently as March 3, 2015, Dr. Paulson has falsely claimed in writing that the

   protocols for the treatment of HCV-infected MN DOC prisoners under his charge are

   based on the AASLD/IDSA "Recommendations for Testing, Managing and Treating

   Hepatitis C" (http://www.hcvguidelines.org) in response to an inmate's request for HCV

   treatment, which require immediate treatment DAA treatment at all levels of HCV

   infection.

51. As recently as June 2015, Dr. Paulson authorized distribution to Plaintiffs and

   unnamed class members of MN DOC Health Services Unit "Chronic Hepatitis C


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   Management & Procedures," dated 5/9/2012, that describes HCV and HCV

   treatment in terms that reference year-long Interferon treatment and describe

   barriers to treatment that completely contradict the AALSD/IDSA standard-of-care

   that apply to medical care providers such as Dr. Paulson, himself.

52. As recently as June 2015, Dr. Paulson authorized distribution to Plaintiffs and

   unnamed class members of “consent for HCV treatment” forms that contradict the

   AALSD/IDSA standards-of-care for HCV treatment providers, including Dr.

   Paulson.

                                         Facts

                Hepatitis C Virus (HCV): A Silent, Deadly Epidemic

53. HCV was not discovered until 1989. Blood screening was not possible until the

   mid-1990's. According to the CDC, everyone born between 1945 and 1965 is at

   risk and should undergo testing for hepatitis C; a 12 week cure was not possible

   until late 2013 with FDA approval of direct acting antiviral (DAA) drugs; and a

   twelve week oral cure without toxic Interferon injections was not possible until late

   2014, with FDA approval of Harvoni and Viekira-Pak.

54. The Centers for Disease Control (CDC) estimate the potentially fatal blood-borne

   Hepatitis-C Virus (HCV) infects some 4 million Americans of all ages and walks of

   life (about 2% of the population) and causes more deaths than HIV/AIDS.

55. Between 20 - 50% of America’s 2.3 million inmates are HCV-positive. According



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   to the CDC, therefore most prisoners and 98% of the general population are at risk

   from unscreened, untreated inmates.

56. Eliminating HCV from corrections facilities filters HCV from the entire nation’s

   blood pool by making prisons and jails sites where treatment is readily available to

   at-risk populations to stop transmission of the virus outside of prisons and jails.

                How HCV Infects and Debilitates Unknowing Victims

57. HCV is a chronic, potentially fatal blood-borne viral disease that substantially and

   materially degrades the liver’s ability to purify blood and to convert substances in

   the blood to glucose, inflicting progressive damage on the liver, which substantially

   and materially impairs the body’s digestive and circulatory systems each day.

58. HCV can be spread by mere contact with an infected individual’s blood, under

   such circumstances as: (a) physical activity in sports, (b) tattooing, (c) use of a

   needle not properly cleaned and sterilized, (d) exposure to an infected person’s

   blood in the course of medical care, (e) barber and cosmetology care, (f) sexual

   activity, (g) sharing of eating utensils and food, (h) sharing razors or other personal

   grooming supplies, (i) sharing bathrooms or shower facilities, (j) sharing living

   quarters, or (k) physical violence between inmates or involving staff.

59. If left untreated, even asymptomatic HCV causes cirrhosis, or destructive scarring

   of the liver, liver cancer, and may require a liver transplant, and eventually cause

   other symptoms to those it afflicts. As a communicable disease, HCV poses an

   unreasonable and substantial risk of serious present and future medical and


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   physical harm to the Plaintiffs, and the general public after Plaintiffs’ release from

   prison. Roe v. Elyea, 631 F.3d 843 (7th Cir. 2011).

60. HCV substantially and materially impairs the individual’s, and these plaintiffs’,

   major life activities of (a) self-caring, (b) social interaction with other persons, (c)

   manual tasks particularly those involving knives, scissors, pins, needles,

   toothbrushes, eating utensils, or shaving razors, (d) reproduction, and (e) life itself.

61. Each day treatment is postponed, the likelihoods of: cirrhosis of the liver, liver

   cancer, a liver transplant, and death from HCV grow for each member of the Class,

   as does the likelihood of infection for those with whom they come in contact in

   MN DOC facilities and for members of the general public after they are released

   into the general population outside prison.

                            Defendant M.D.’s Deliberately
                       Ignored the AASLD/IDSA Professional
                     Medical Standard of Care HCV Cure from
                   January 2014 to the Present Date, thus Proving
                   Deliberate Indifference to the Plaintiffs’ Known,
                HCV Infection Harms and Their Serious Medical Needs.

62. In January 2014, the Infectious Disease Society of America (IDSA) and the

   American Association for the Study of Liver Disease (AASLD) issued guidelines

   recommending sofosbuvir (Sovaldi) and similar new drugs as first-line therapy to

   replace year-long Interferon-based injections entirely. See, www.hcvguidelines.org.

63. In June 2014 the Federal Bureau of Prisons (FBOP) issued "Clinical Practice

   Guidelines" (Guidelines, or Protocol) for HCV treatment of inmates. The FBOP




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   specifically rejected the more dangerous, less effective 48-week toxic Interferon-

   based injection treatment regimen.

64. The protocol specifically lists the ASSLD/IDSA sofosbuvir twelve week, one pill

   per day regimen as the safer, more effective, standard-of-care in all FBOP facilities.

65. Other agencies of the United States, including the Centers for Disease Control

   (CDC), the United States Department of Veterans Affairs (VA), and the Surgeon

   General of the United States Public Health Service (Surgeon General) adopted the

   one pill per day, twelve-week protocol as the standard of care for treatment of

   HCV, and specifically rejected the forty-eight week toxic Interferon injection

   regimen, as has: the CDC, the Veterans Administration (VA), and the Surgeon

   General of the US. Public Health Service.             Private insurers that include

   UnitedHealth, Anthem, and Aetna cover the non-interferon anti-viral oral pill

   treatments.

66. As set forth in the FBOP June 14, 2014 Clinical Practice Guidelines for HCV, the

   above protocols’ only medical criteria are that the patient; (a) not be pregnant; (b)

   have sufficient time in custody to complete treatment; and, (c) "demonstrate

   willingness and ability to adhere to rigorous treatment and to abstain from high risk

   activities."

67. In October 2014, the FDA approved two additional “breakthrough” drugs that

   eliminated weekly interferon injections from the 12-week daily oral medication

   treatment regimen approved only a year earlier. Harvoni and Viekira-Pak were



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   also approved in January, 2015 by the AASLD/IDSA, with posting on

   www.hcvguidelines.org.

68. On June 29, 2015, the AASLD/IDSA established non-Interferon Harvoni and

   Viekira-Pak as the recommended standard-of-care for HCV-infected patients, to

   the exclusion of all other medications for patients and all levels of infection.

69. The new AASLD/IDSA medical standard-of-care: (a) specifically rejects Interferon

   treatments; (b) recommends immediate treatment with the new medication for all

   HCV-infected patients without pre-condition to reach sustained SVR (Sustained

   Viral Response) as soon as possible; and, (c) permits "rationing" of treatment to

   patients with more serious symptoms only for health care providers for whom cost

   is a lawful justification, per www.hcvguidelines.org, June 29, 2015.

70. According to the AASLLSD/IDSA, FBOP, CDC, and VA protocols, chemical

   dependency treatment is not a medically required precondition for the twelve week

   HCV treatment, contrary to MN DOC.

71. Cost of providing the professional standard of medical care, after an HCV

   diagnosis, is not a lawful defense for delaying or refusing to treat prisoners under

   the Eighth Amendment. Estelle v. Gamble, 429 U.S. 97 (1976).

                               Delays in Treating
                           Known HCV Infection Is
               Deliberate Indifference to the Serious Illnesses
           and Medical Needs of the Plaintiffs, Erickson v. Pardus,
    550 U.S. 89 (2007), and the AASLD/IDSA Standard of Professional
 Medical Care for Treatment and Cure of HCV Applies to Medical Doctors
Who Treat Patients in or out of Prison, per U.S. v. Kubrick, 444 U.S. 111 (1979).



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72. Erickson v. Pardus, 551 U.S. 89, 90, (2007), acknowledges that conscious delay,

   denial, or interference in medical treatment of hepatitis C for non-medical reasons

   -- standing alone -- states a plausible claim against prison officials for deliberate

   indifference to the serious medical needs of a prisoner in violation of U.S. Const.

   amend. VIII and XIV through 42 U.S.C. §§ 1983 and 1988.

73. Upon information and belief, Defendants Medical Director Dr. Paulson, M.D.

   Director of Health Services Larson, Drs. D. Quiram, M.D,, R. Hanson, M.D. and

   other Defendant MN DOC, agents or contractors, including CENTURION,

   jointly and severally, had actual knowledge of the AASLD/IDSA HCV Guidance

   Panel website www.hcvguidelines.org, (specifically referenced by Dr. Paulson in his

   March 3, 2015 correspondence), professional journals, professional meetings,

   FBOP publications and general media as the Standard-of-Care for HCV infected

   patients. See United States v. Kubrick, 444 U.S. 111 (1979

74. At all times relevant to this lawsuit, Defendant MN DOC, its agents or contractors

   including CENTURION, jointly and severally, have willfully denied, or, with

   deliberate indifference to the serious medical needs of the plaintiffs, denied the

   AASLD/IDSA current medical professional HCV-treatment community standard

   of individualized medical care to plaintiffs and similarly situated HCV positive

   inmates, specifically, the daily oral twelve week, non-Interferon treatment

   protocols, for non-medical reasons.

75. At all times relevant to this lawsuit, Defendant MN DOC, its agents or contractors

   including CENTURION, jointly and severally, have willfully delayed, denied, or


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   interfered with plaintiffs’ timely HCV treatment by:

  (a) requiring chemical dependency treatment as a medically unnecessary

     precondition for HCV treatment, unrelated to www.hcvguidelines.org standards-

     of care.

  (b) withholding HCV treatment until plaintiffs manifest symptoms of fibrosis,

     cirrhosis of the liver, or liver cancer, for non-medical reasons and contrary to the

     AASLD/IDSA medical standard-of-care, contrary to www.hcvguidelines.org.

76. The Defendants’ joint and several willful, deliberate indifference to the

   AASLD/IDSA Profession Medical Standard-of-Care and serious medical needs of

   the plaintiffs make increased public expense to treat Plaintiffs’ cases of HCV

   foreseeable and inevitable, including their long-term illness and death, as well as the

   costs associated with the infection of others.

             E. Unequal Treatment and Deliberate Indifference
     to HCV-Infected Inmates as Compare to HIV/AIDS-Infected Inmates

77. Contract #70449 (“the Contract”) governing the business relationship between

   Defendant MN DOC and Centurion, signed on October 17, 2013 requires that

   Defendant Centurion provide “infectious disease screenings” upon inmates’ intake.

   Upon information and belief, such screening for HIV/AIDS takes place regularly,

   but such screening does not include HCV infections.

78. Contract #70449 obligates Centurion to provide “all treatment for HIV/AIDS in a

   manner consistent with applicable standards of medical care, including CDC

   guidelines and the Twin Cities’ area community standard of care.                  The


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   CONTRACTOR shall be responsible for all medical costs associated with the

   screening and treatment of HIV/AIDS.” (emphasis added)

79. However, with respect to “Hepatitis C Treatment” Contract #70449 requires only:

   “services for the diagnosis and treatment of Hepatitis C within the then current

   treatment guidelines and then current Hepatitis C treatment protocols established

   by the DOC, as incorporated herein.”

80. Contract #70449, on its face, specifically instructs Defendant Centurion that it must

   treat inmates with the life-threatening blood-borne infection HIV/AIDS according

   to the current professional medical community standard-of-care, but discriminates

   against inmates with the life-threatening, blood-borne HCV infection by not

   requiring treatment according to the current professional medical community

   standard-of-care, but limiting treatment to internal protocols of Defendant MN

   DOC.




  HCV AS A SERIOUS MEDICAL NEED, IN WHICH ASSERTED FAILURE
  OR DELAY IN TREATMENT STATES CLAIMS FOR DELIBERATE
  INDIFFERENCE TO PRISONERS’ MEDICAL NEEDS UNDER THE
  EIGHTH AND FOURTEENTH AMENDMENTS

81. Erickson v. Pardus, 551 U.S. 89, 90, 127 S. Ct. 2197 (2007), holds that conscious

   delay, conscious denial of access, or conscious interference in medical treatment of

   hepatitis C for non-medical reasons -- standing alone -- states a plausible claim for

   deliberate indifference against prison doctors, prison guards, or prison officials to


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   the serious medical needs of a prisoner in violation of U.S. Const. amend. VIII

   and XIV through 42 U.S.C. § 1983.

82. Minnesota Department of Health Regulations 4605.7030 and 4605.7040 subp.

   B(22) require that all physicians, healthcare facilities, medical laboratories, and

   every licensed healthcare provider shall submit clinical materials associated with

   HCV positive cases to the Commissioner of Health within one working day of

   diagnosis.

83. Said Minnesota regulations impose a duty to obtain knowledge, and to transmit

   said knowledge to the Minnesota Department of Health, of all HCV cases within

   the care and responsibility of all medical care providers, including medical care

   providers employed by, or contracted by, the Minnesota Department of

   Corrections.

84. In accordance with Minn. Stat. § 241.01 subd. 3(a)(1), Defendant MN DOC has

   adopted "Blood borne Pathogen Policy" §105.170 et seq. with updates §105.170

   FRB, 5/6/14, and §151.171, 9/2/14, which purport to adopt up-to-date U.S. Public

   Health Service (USPHS) and CDC treatment protocols for disabling, blood borne

   pathogens, including HCV.

85. At all times relevant to this lawsuit, Defendant MN DOC, its agents, employees,

   representatives, or contractors including CENTURION, provide free, routine

   screening for HIV/AIDS within 14 days of prisoners’ intake, or in response to a

   “kite” written request to a facility health service, with treatment available at all MN

   DOC facilities, without the precondition of chemical dependency treatment.


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86. In contrast, at all times relevant to this lawsuit, Defendant MN DOC, its agents,

   employees, representatives, or contractors including CENTURION, provide NO

   routine screening for HCV during or after intake to identify sources of infection, or

   to protect inmates from sources of infection, despite the duties to know and

   transmit that the above regulations impose.

87. Upon information and belief, Defendants Medical Director Dr. Paulson, Director

   of Health Services Larson, Defendant Nanette Larson, R.N., Drs. Quiram,

   Hanson and other Defendants had actual knowledge of the AASLD/IDSA HCV

   Guidance Panel website, www.hcvguidelines.org (specifically referenced by Dr.

   Paulson in his March 3, 2015 correspondence), professional journals, professional

   meetings, FBOP publications, and general media as the community standard of

   professional medical care for HCV-infected patients, since January 2014, as

   community standard of professional medical care is defined in U.S. v. Kubrick,

   444 U.S. 111 (1979).

88. Despite Defendants' knowledge of the new safer and more effective standard-of-

   care, the Defendants, jointly and severally, have not provided the current 12-week

   week one pill per day professional HCV-treatment community medical standard of

   care    described      in   the    AASLD/IDSA         HCV       Guidance      Panel,

   www.hcvguidelines.org, the June 2014 FBOP Clinical Treatment Guidelines, and

   other peer-reviewed sources, to meet the individual needs of the Plaintiffs, and to

   screen and cure prisoners infected with the HCV virus for reasons unrelated to

   medical care.


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89. At all times relevant to this lawsuit, Defendant MN DOC, its agents, employees,

   representatives, or contractors including CENTURION, jointly and severally, have

   willfully denied, or, with manifest deliberate indifference to the serious medical

   needs of the plaintiffs, denied the current medical professional HCV-treatment

   community standard of individualized medical care to plaintiffs and similarly

   situated HCV positive inmates, specifically, the daily oral twelve week non-

   interferon DAA treatment protocols, for non-medical reasons.

90. At all times relevant to this lawsuit, Defendant MN DOC, its agents, employees,

   representatives, or contractors including CENTURION, jointly and severally, have

   willfully delayed, denied, or interfered with plaintiffs’ timely HCV treatment by

   requiring chemical dependency treatment as a medically unnecessary precondition

   for HCV treatment.

91. At all times relevant to this lawsuit, Defendant MN DOC, its agents, employees,

   representatives, or contractors including CENTURION, have intentionally

   delayed, denied, or interfered with plaintiffs’ timely HCV treatment by withholding

   HCV treatment until plaintiffs manifest symptoms of fibrosis, cirrhosis of the liver,

   or liver cancer, for non-medical reasons.

92. The only HCV treatment available in the MN DOC--CENTURION system

   consists of the forty-eight week course of daily toxic Interferon-based injections and

   monitoring of blood viral load in a clinical setting.      The FBOP rejected this

   treatment in June 2014 as falling below the professional hepatitis-C medical

   treatment community standard of individualized care of inmates, specifically, the


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   twelve week, one oral pill per day medication protocol available since December

   2013 of Olysio, Sovaldi, and successor medicines that include Harvoni and Viekira

   Pak. The AASLD/IDSA rejected HCV treatment with interferon in June 2015.

93. As described in written policy and in response to written requests from Plaintiffs, at

   all times relevant to this lawsuit, of the nine (9) facilities that MN DOC operates,

   Defendants MN DOC, ROY, CENTURION, LARSON, AND PAULSON,

   jointly and severally, offer forty-eight week, toxic Interferon-based HCV treatment

   only at specific facilities, and thus exclude inmates at all other facilities from

   receiving any HCV treatment at all.

94. Particularly in light of the efficacy of the FDA-"HVC breakthrough" drugs in curing

   all levels of HCV viral infections all HCV genotypes (with minor variances), and

   the relative simplicity of the treatment protocols associated with the 12-week oral

   medication, policies limiting treatment based on viral load, or relative progress of

   liver dysfunction, are matters of administrative convenience or cost saving, not the

   medical requirements of the patient.

95. For non-medical reasons of policy and practice, MN DOC and CENTURION,

   jointly and severally, at all times relevant to this lawsuit, have systematically denied,

   and continue to deny systematically, MN DOC inmates’ requests for the FDA-

   approved, one pill per day, twelve week treatment protocol of Olysio, Sovaldi,

   which the FBOP as of June 2014, the FDA, the CDC, the U.S. Public Health

   Service Surgeon General, and the VA have adopted as the safest, most effective

   professional HCV-treatment medical community standard of care for the treatment


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   and cure of HCV virus infections at a 95% cure rate – a protocol to which Harvoni

   and Viekira Pak were added in late 2014, and from which interferon was deleted in

   June 2015.

96. As a direct result of the Defendants’ joint and several policies, practices, and

   actions that lack medical foundation or rational basis, and which substitute

   administrative convenience, caprice, and whim for individualized professional

   medical care and judgment for the Plaintiffs, each day the Defendants deny to

   Plaintiffs the FBOP Sovaldi/Harvoni equivalent of the non-Interferon twelve week,

   daily pill protocol to cure HCV, Defendants needlessly force Plaintiffs to suffer the

   progressive effects of the chronic, life-threatening disease of hepatitis C.

97. The Defendants’ joint and several willful, deliberate actions make progression of

   plaintiffs’ cases of HCV foreseeable, and increased public expense inevitable.

98. The Defendants’ joint and several willful, deliberate actions make increased public

   expense to treat Plaintiffs’ cases of HCV foreseeable and inevitable.

99. The Defendants’ joint and several willful, deliberate actions increase without

   medical reason or lawful purpose the likelihood of the Plaintiffs’ deaths for reasons

   arising from HCV infection.

100.     Day by day, uninfected inmates, and the public at large, run increasing risks

   of HCV infection which Defendants could “cure;” to these inmates’ serious,

   medical needs of freedom from, and knowledge of, infection by HCV, the

   Defendants, jointly and severally, are deliberately indifferent, for reasons of non-

   medical policy and practice.


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                                      Class Allegations

101.      Plaintiffs brings this action on behalf of themselves, and others similarly

   situated, (the "Class") pursuant to Fed. R. Civ. P. 23(a) and 23(b)(2).

102.      Plaintiffs seeks to represent the following Class and sub-classes on claims for

   declaratory and injunctive relief and damages:

  (a) All persons (male and female) incarcerated in Minnesota Department of

       Corrections facilities with 12 weeks remaining on their sentence; who test HCV-

       positive and wish to participate in the 12-week oral-medication HCV treatment,

       equivalent to AASLD/IDSA Community Standard of Professional Medical Care

       Guidelines of June 29, 2015.

  (b) All persons as in (a) who tested HCV positive before entering MN DOC

       facilities, but who have not been screened by MN DOC, and are thus unaware

       of their HCV infection and cannot request the 12 week oral, non-interferon

       medication.

  (c) All persons as in (a) who were not HCV-positive before entering facilities and

       became infected while housed in Mn DOC facilities.

  (d) All persons as in (a) who are not aware of their HCV status, who are fearful of

       being exposed to HCV because of MN DOC policies and practices that make it

       impossible to know if any other inmates with whom they come in contact are

       HCV-positive, or not.

103.      As a result of Defendants’ joint and several deliberate indifference to the

   serious medical needs of the Class, the members of the Class are or will be


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   subjected to cruel and unusual punishment and deprived of other constitutional

   and statutory rights, and will face ongoing, threatened, and imminent physical

   harm.

104.       Plaintiffs seek declaratory and injunctive relief to enjoin Defendants’ actions,

   policies and practices that infringe on their rights, and seek prospective, equitable

   relief of the 12 week DAA cure per the AASLD/IDSA professional community

   standard of medical care, and ongoing screeing for HCV.

  105.     The requirements of Rules 23(a) are met by this action:

  106.     Numerosity - under Fed. R. Civ. P. 23(a)(1): The precise number of inmates

       in the Class and their identity are within the control of Defendants, and

       estimated by the Defendants at between 10% and 35% of the general prison

       population of 9,000. (See, Health Services Unit, Chronic Hepatitis C

       Management and Procedures, 5/9/2012). para. 1. All inmates face the danger

       of imminent infection from untreated fellow inmates.

  107.     Commonality - under Fed. R. Civ. P. 23(a)(2): Questions of law and fact are

       common to the Class, including but not limited to: (1) the nature and scope of

       the safer, more effective AASLD/IDSA Standard-of-Care is common to all class

       members; (2)) whether the MN DOC policy preventing HCV treatment using

       non-medical barriers such as CD treatment must be replaced with the

       AASLD/IDSA Standard-of-Care is common to the class; (3) whether the MN

       DOC refusal to adhere to the AASLD/IDSA Standard-of-Care use of an

       outmoded medical treatment that is less safe and effective than the current


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    Standard-of-Care violates the Eight Amendment is common to the class; (4)

    whether the MN DOC refusal to adhere to the AASLD/IDSA Standard-of-Care

    violates Title II of the ADA as Amended is common to the class; and (5)

    whether the MN DOC refusal to adhere to the AASLD/IDSA Standard-of-Care

    violates Section 504 of the Rehabilitation Act is common to the class; and (5) the

    commonality of declaratory and prospective equitable relief in mandatory

    treatment of HCV infection with DAA medications and continuing HCV

    screening predominate over any unique relief demands of plaintiffs, class

    members, or subclass members.

 108.   Typicality - Fed. R. Civ. P. 23(a)(3): Plaintiff's claims are typical of the Class

    members because Plaintiff and all Class Members were injured by the same

    wrongful policy and practices of Defendants as described in this Complaint.

    Plaintiff's claims arise from the same practices and course of conduct that give

    rise to the claims of the Class Members and are based on the same legal theories

    and factual question relating to the AASLD/IDSA standard-of-care.

 109.   Representativeness - Fed. R. Civ. P. 23(a)(4): (1) Plaintiffs will fairly and

    adequately protect the interests of the Class. (2) Plaintiffs have no interests that

    are contrary to or in conflict with those of the Class they seek to represent. (3)

    Plaintiffs are represented by competent and skilled counsel whose interests are

    aligned with the interests of the Class. (4) Relief concerning Plaintiff's rights

    under the laws herein alleged and with respect to the Class would be proper. (5)

    Defendants have acted or refused to act with respect to the Class, thereby


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       making appropriate final injunctive relief or corresponding injunctive relief with

       regard to Class Members as a whole and certification of the Class under Rule

       23(b)(2) proper; and (6) Counsel for Plaintiffs have developed a particular

       expertise in the rapidly changing science underlying the changes in the

       AASLD/IDSA standard-of-care and changing protocols in federal agencies and

       other private and public institutions. This research has resulted in the first

       articles published on this issue, and this suit, which is the first in the nation.

  110.    Superiority - Fed. R. Civ. P. 23(b)(3): (1) A class action is superior to other

       available methods for the fair and efficient adjudication of this litigation since

       joinder of all members of the class is impracticable. (2) The number would

       prove unduly burdensome and inefficient for the Court and parties. (3) Because

       a common set of facts, grievances and remedies predominate over individual

       issues, individual litigation increases expenses to all parties, and better

       management of consistent adjudication and relief by a single court is in the

       interest of all parties. (4) Conduct of this action as a class action will protect the

       rights of all class members and promote judicial efficiency and consistency.

       Notice can be provided to class members by United States mail.

                                       Exhaustion

111.      Named Plaintiffs have exhausted their administrative remedies.

112.      The foregoing averments and assertions of Plaintiffs constitute averments that

   Plaintiffs face imminent danger of serious and continuing physical, medical injury.

                                        CLAIMS


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CLAIM I: U.S. CONST. AMEND. VIII AND XIV, THROUGH 42 U.S.C.
§1983; NAMED PLAINTIFFS AND ALL PERSONS SIMILARLY
SITUATED, AGAINST DEFENDANTS D. QUIRAM, M.D., and R.
HANSON, M.D., IN THEIR RESPECTIVE INDIVIDUAL CAPACITIES.


  113.      Plaintiffs reallege every claim and incorporated exhibit, which constitute

     averments of imminent danger of serious physical, medical injury.

  114.      First, Plaintiffs Ligons and Michaelson, and all persons similarly situated,

     have a serious medical need, specifically, treatment with the nationally recognized

     professional standard of medical care of the AASLD/IDSA HCV Guidance Panel.

     See, www.hcvguidance.org (currently Harvoni or Viekira-Pak) to cure their

     respective disabling hepatitis C infections.

  115.     Second, DR. D. QUIRAM, M.D., and DR. R. HANSON, M.D., were

     aware of the named Plaintiffs’ respective serious medical needs to cure their cases

     of Hepatitis C, in accordance with the nationally recognized professional standard

     of   medical   care    of   the   AASLD/IDSA       HCV     Guidance     Panel.   See,

     www.hcvguidance.org.

  116.     Third, DR. D. QUIRAM, M.D., and. DR. R. HANSON, M.D. as prison

     physicians at Minnesota Corrections Facilities of the Minnesota Department of

     Corrections, in the course and scope of their respective employment by defendant

     Centurion of Minnesota, L.L.C., had the responsibilities to care for the Plaintiffs as

     their patients, according to the above standards of care for HCV Practitioners

     established by www.hcvguidelines.org, which are regularly updated with new

     developments in medicines and treatments.


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117.      Fourth, Defendants Quiram and Hanson, respectively, jointly, or severally,

   had actual knowledge of a substantial risk that, by delay of treatment with non-

   Interferon Direct Acting Anti-virals, the respective named Plaintiffs would suffer

   progression of their respective disabling hepatitis C infections that foreseeably

   would lead to aggravated or exacerbated serious medical harms including liver

   malfunction, liver fibrosis, liver cirrhosis, liver cancer, expensive liver transplant, or

   even death by liver malfunction.

118.      Fifth, Defendants Quiram and Hanson, respectively, jointly, or severally,

   have actual knowledge of the www.hcvguidance.org website for HCV practitioners

   and disregarded both (a) the professional recommendations provided by the

   website and (b) the substantial risk of progression of the hepatitis C infection of

   Plaintiffs by intentionally failing to treat them with non-Interferon Direct Acting

   Anti-virals as required by the www.hcvguidelines.org national community standard

   of professional medical care for ALL M.D.’s treating Hepatitis C.

119.      Sixth, the named Plaintiffs, and all similarly situated persons suffering from

   Hepatitis C infection, are suffering injuries that include progression of his and their

   respective infections, increased symptoms, pain, suffering, fear, diminished

   enjoyment of life, and decreased life expectancy as a direct consequence of the

   failures of Defendants DR. D. QUIRAM, M.D., and DR. R. HANSON, M.D., to

   follow the national community professional standard of medical care for Hepatitis

   C medical providers described at www.hcvguidelines.org, which sets the Hepatitis

   community standard of care of expert medical doctors, in accordance with United


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     States v. Kubrick, 444 U.S. 111 (1979).

  120.     Seventh, Defendants DR. D. QUIRAM, M.D. and DR. R. HANSON,

     M.D., respectively, jointly, or severally acted under color of law as Minnesota

     Department of Corrections physicians, in the employ of Minnesota Department of

     Corrections medical services contractor, Centurion of Minnesota, L.L.C.

CLAIM II: U.S. CONST. AMEND. VIII AND XIV, THRU 42 U.S.C.
§1983;PLAINTIFFS LIGONS, MICHAELSON, AND ALL PERSONS
SIMILARLY SITUATED AGAINST DEFENDANTS          NANETTE
LARSON, R.N., AND D. PAULSON, M.D., IN THEIR RESPECTIVE
INDIVIDUAL CAPACITIES.

  121.     Plaintiffs reallege and reassert every claim and incorporated exhibit, which

     constitute averments of imminent danger of serious physical, medical injury.

  122.     First, Defendants Dr. D. Paulson, M.D, as Medical Director of the

     Minnesota Department of Corrections, and Nanette Larson, R.N., as the

     Minnesota Department of Corrections Director of Health Services, were as aware

     of named Plaintiffs respective serious medical needs, specifically, treatment with

     Harvoni or Viekira-Pak, in accordance with the national, community standard of

     professional medical care for hepatitis C established by www.hcvguidance.org and

     AASLD/IDSA on June 29, 2015.

  123.     Second, Defendants Larson and Paulson, in the respective course and scope

     of their employment by defendant Minnesota Department of Corrections had

     respective responsibilities to assure Hepatitis C medical treatment for Plaintiffs at

     least at the level of the AASLD/IDSA national community standard of professional

     medical care for Plaintiffs Ligons, Michaelson, and all other persons similarly


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     situated.

  124.     Third, Defendants Paulson and Larson had respective actual knowledge of a

     substantial risk that Plaintiffs would suffer progression of their respective Hepatitis

     C infections that foreseeably would lead to aggravated or exacerbated serious

     medical harms, including liver malfunction, liver fibrosis, liver cirrhosis, liver

     cancer, expensive liver transplant, or even death by liver malfunction.

  125.     Fourth, Defendants Larson and Paulson disregarded the substantial risk of

     progression of the hepatitis C infections of Plaintiffs Ligons and Michaelson, and

     all persons similarly infected with the hepatitis C virus, by failing to provide the 12-

     week cure of Harvoni or Viekira-Pak, which is the current Hepatitis C national

     community     standard    of   professional   medical    care    established   by   the

     AASLD/IDSA.

  126.     Fifth, Plaintiffs suffered injuries that included progression of their respective

     infections, increased symptoms, pain, suffering, fear, diminished enjoyment of life,

     and decreased life expectancy.

  127.     Sixth, Defendants Dr. David Paulson, M.D. and Nanette Larson, R.N. acted

     under color of law as employees and the respective Medical Director and Health

     Services Director of the Minnesota Department of Corrections.




CLAIM III. U.S. CONST. AMEND. VIII AND XIV, THRU42 U.S.C.
§1983; NAMED PLAINTIFFS AND ALL PERSONS SIMILARLY
SITUATED, AGAINST DEFENDANT CENTURION OF MINNESOTA,


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L.L.C.

   128.        Plaintiffs reallege and reassert every claim and incorporated exhibit, which

         constitute averments of imminent danger of serious physical, medical injury.

   129.        First, Plaintiffs Ligons, Michaelson, and all persons similarly situated, had a

         serious medical need, specifically, treatment with Harvoni, Viekira-Pak, or other

         direct-acting, antiviral, lifesaving, curative medicines for their respective hepatitis C

         virus infections, in accordance with the national, community standard of

         professional medical care for hepatitis C established by expert, specialist

         gastroenterologists and hepatologists of the AASLD/IDSA.

   130.        Second, Defendant Centurion of Minnesota, L.L.C., through the actions of

         its agents, employees, or representatives, and the kites and grievances of Plaintiffs,

         was aware of plaintiffs Ligons’ and Michaelson’s, and all other persons’ similarly

         situated to them, respective serious medical needs, specifically, treatment with

         Harvoni, Viekira-Pak, or other direct-acting, antiviral, lifesaving, curative medicines

         for his and their respective hepatitis C virus infections, in accordance with the

         national, community standard of care for hepatitis C established by expert,

         specialist gastroenterologists and hepatologists of the AASLD/IDSA for their

         respective hepatitis C infections.

   131.        Third, defendant Centurion of Minnesota, L.L.C., had a responsibility to

         assure proper care for Plaintiffs Ligons, Michaelson, and all other persons similarly

         situated.

   132.        Fourth, Defendant Centurion of Minnesota, L.L.C., through the actions of


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   its agents, employees, or representatives, had actual knowledge of a substantial risk

   that Plaintiff Michaelson, and all persons similarly infected with the hepatitis C

   virus, as a direct result of delay in treatment with Harvoni or Viekira Pak, would

   suffer progression of their respective hepatitis C infections that foreseeably would

   lead to aggravated or exacerbated serious medical harms including liver

   malfunction, liver fibrosis, liver cirrhosis, liver cancer, expensive liver transplant, or

   even death by liver malfunction.

133.     Fifth, defendant Centurion of Minnesota, L.L.C., through its agents,

   employees, or representatives, disregarded the substantial risk of progression of the

   hepatitis C infection of Plaintiff Ligons, and all persons similarly infected with the

   hepatitis C virus, by

• failing to provide medical care; or

• failing to direct that medical care be provided; or

• failing to enact policies to assure that LIGONS, MICHAELSON, and each and

   every respective class member would obtain the medical care needed, specifically,

   treatment of them respectively, with Harvoni, Viekira-Pak, or other direct-acting,

   antiviral, lifesaving, curative medicines for their respective hepatitis C virus

   infections, in accordance with the national, community standard of care for

   hepatitis C established by expert, specialist gastroenterologists and hepatologists of

   the AASLD/IDSA; or

• failing to allow each and every respective plaintiff to obtain the medical care needed,

   specifically, treatment of them respectively, with Harvoni, Viekira-Pak, or other


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     direct-acting, antiviral, lifesaving, curative medicines for their respective hepatitis C

     virus infections, in accordance with the national, community standard of care for

     hepatitis C established by expert, specialist gastroenterologists and hepatologists of

     the AASLD/IDSA;

  134.     Sixth, Plaintiffs Ligons, Michaelson, and all other similarly situated persons

     afflicted with the hepatitis C virus, as the direct result of the failures and policy

     decisions of Centurion of Minnesota, L.L.C., suffered injuries that included

     progression of their respective infections, increased symptoms, pain, suffering, fear,

     diminished enjoyment of life, and decreased life expectancy.

  135.     Seventh, defendant Centurion of Minnesota, L.L.C., as the contracted

     medical care provider of the Minnesota Department of Corrections, through its

     agents, employees, or representatives, acted with deliberate, reckless, knowing, or

     intentional disregard for the rights, health, and safety of the plaintiffs.

  136.     Eighth, defendant Centurion of Minnesota, L.L.C., as the contracted medical

     care provider of the Minnesota Department of Corrections, through its agents,

     employees, or representatives, acted under color of law.

CLAIM IV: U.S. CONST. AMEND. VIII AND XIV, THROUGH 42
U.S.C. §1983; PLAINTIFFS LIGONS AND MICHAELSON, AND ALL
PERSONS      SIMILARLY   SITUATED,  AGAINST  DEFENDANT
MINNESOTA        DEPARTMENT     OF   CORRECTIONS    AND
COMMISSIONER TOM ROY IN HIS OFFICIAL CAPACITY

  137.     Plaintiffs reallege and reassert each and every claim and incorporated exhibit

     which constitute averments of imminent danger of serious physical, medical injury.

  138.      First, Plaintiffs Ligons, Michaelson, and all persons similarly situated, had a


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   serious medical need, specifically, treatment with Harvoni, Viekira-Pak, or other

   direct-acting, antiviral, lifesaving, curative medicines for their respective hepatitis C

   virus infections, in accordance with the national, community standard of care for

   hepatitis C established by expert, specialist gastroenterologists and hepatologists of

   the AASLD/IDSA.

139.     Second,     Defendants     Minnesota     Department       of   Corrections     and

   Commissioner Tom Roy, through the actions of their agents, employees, or

   representatives, were aware of Plaintiffs Ligons’ and Michaelson’s, and all other

   persons’ similarly situated to them, respective serious medical needs, specifically,

   treatment with Harvoni, Viekira-Pak, or other direct-acting, antiviral, lifesaving,

   curative medicines for his and their respective hepatitis C virus infections, in

   accordance with the national, community standard of professional care for hepatitis

   C established by expert, specialist gastroenterologists and hepatologists of the

   AASLD/IDSA for his and their respective hepatitis C infections.

140.     Third, defendants Minnesota Department of Corrections and Commissioner

   Roy had a responsibility to assure proper care for Plaintiffs Ligons, Michaelson,

   and all other persons similarly situated.

141.     Fourth,    defendants     Minnesota      Department      of    Corrections     and

   Commissioner Roy, through the actions of their agents, employees, or

   representatives, and the kites and grievances of the plaintiffs, had actual knowledge

   of a substantial risk that Plaintiffs Ligons, Michaelson, and all persons similarly

   infected with the hepatitis C virus, by delay of treatment with Harvoni or Viekira


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   Pak, would suffer progression of the hepatitis C infection that foreseeably would

   lead to aggravated or exacerbated serious medical harms including liver

   malfunction, liver fibrosis, liver cirrhosis, liver cancer, expensive liver transplant, or

   even death by liver malfunction.

142.     Fifth, Defendants Minnesota Department of Corrections and Commissioner

   Roy, through the actions of their agents, employees, or representatives, disregarded

   the substantial risk of progression of the hepatitis C infection of Plaintiffs Ligons,

   Michaelson, and all persons similarly infected with the hepatitis C virus, by

• failing to provide medical care; or

• failing to direct that medical care be provided; or

• failing to enact policies to assure that LIGONS, MICHAELSON, and each and

   every respective class member would obtain the medical care needed, specifically,

   treatment of them respectively, with Harvoni, Viekira-Pak, or other direct-acting,

   antiviral, lifesaving, curative medicines for their respective hepatitis C virus

   infections, in accordance with the national, community standard of care for

   hepatitis C established by expert, specialist gastroenterologists and hepatologists of

   the AASLD/IDSA; or

• failing to allow each and every respective plaintiff to obtain the medical care needed,

   specifically, treatment of them respectively, with Harvoni, Viekira-Pak, or other

   direct-acting, antiviral, lifesaving, curative medicines for their respective hepatitis C

   virus infections, in accordance with the national, community standard of care for

   hepatitis C established by expert, specialist gastroenterologists and hepatologists of


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      the AASLD/IDSA;

  143.      Sixth, Plaintiffs Ligons, Michaelson, and all other similarly situated persons

     afflicted with the hepatitis C virus, as the direct result of the failures and the policy

     decisions of defendants Minnesota Department of Corrections and Commissioner

     Roy, suffered injuries that included progression of their respective infections,

     increased symptoms, pain, suffering, fear, diminished enjoyment of life, and

     decreased life expectancy.

  144.      Seventh,    defendants    Minnesota     Department       of   Corrections     and

     Commissioner Roy, through through their agents, employees, or representatives,

     jointly and severally, acted under color of law.

CLAIM V: U.S. CONST. AMEND. VIII AND XIV, THROUGH 42 U.S.C.
§1983; PLAINTIFFS ROE, MILES, AND STILES, AGAINST
DEFENDANT MINNESOTA DEPARTMENT OF CORRECTIONS AND
COMMISSIONER TOM ROY IN HIS OFFICIAL CAPACITY

  145.      Plaintiffs reallege and reassert every claim and incorporated exhibit which

     constitute averments of imminent danger of serious physical, medical injury.

  146.      First, Plaintiffs Roe, Miles, and Stiles, and all persons similarly situated who

     were    HCV-free     when    entering    Minnesota     Department      of   Corrections

     incarceration, or who have been cured of HCV, have a serious medical need,

     specifically, spending each day facing “imminent danger of serious physical injury”

     from being exposed to the debilitating and potentially fatal virus, HCV, from other

     inmates, that Defendants could eradicate in three (3) months (a) by universal testing

     of all inmates upon intake for HCV, (b) by frequent, periodic testing of all inmates



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   for HCV after intake, and (c) treatment of HCV-infected inmates with Harvoni,

   Viekira-Pak, or other direct-acting, antiviral, lifesaving, curative medicines for their

   respective hepatitis C virus infections, in accordance with the national, community

   standard of care for hepatitis C established by expert, specialist gastroenterologists

   and hepatologists of the AASLD/IDSA for his and their respective hepatitis C

   infections, and decline to do so, for non-medical reasons.

147.     Second,     defendants    Minnesota      Department      of    Corrections    and

   Commissioner Tom Roy, through the actions of their agents, employees, or

   representatives, defendant Paulson, defendant Larson, and defendant Centurion of

   Minnesota, L.L.C., through the actions of its employees, representatives, or agents,

   were aware of plaintiffs Roe’s, Miles’, and Stiles’, and all other persons’ similarly

   situated to them, respective serious medical needs, specifically, spending each day

   facing “imminent danger of serious physical injury” from being exposed to the

   debilitating and potentially fatal virus, HCV, from other inmates.

148.     Third, defendants Minnesota Department of Corrections and Commissioner

   Roy, defendant Paulson, defendant Larson, and defendant Centurion of

   Minnesota, L.L.C. had a responsibility to assure proper care for Plaintiffs Roe,

   Miles, and Stiles, and all other persons similarly situated.

149.     Fourth,    defendants     Minnesota      Department      of    Corrections    and

   Commissioner Roy, through the actions of their agents, employees, or

   representatives, defendant Paulson, defendant Larson, and defendant Centurion of

   Minnesota, L.L.C. through the actions of its agents, representatives, and


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   employees, and the kites and grievances of the plaintiffs, had actual knowledge of a

   substantial risk that Plaintiffs Roe, Miles, and Stiles, and all others similarly situated

   who were HCV-free when entering Minnesota Department of Corrections

   incarceration, or who have been cured of HCV, have a serious medical need,

   specifically, spending each day facing “imminent danger of serious physical injury”

   from being exposed to the debilitating and potentially fatal virus, HCV, from other

   inmates, infected with the hepatitis C virus, would foreseeably become infected

   with HCV, and would suffer serious medical harms including liver malfunction,

   liver fibrosis, liver cirrhosis, liver cancer, expensive liver transplant, or even death

   by liver malfunction.

150.       Fifth, defendants Minnesota Department of Corrections and Commissioner

   Roy, through the actions of their agents, employees, or representatives, defendant

   Paulson, defendant Larson, and defendant Centurion of Minnesota, L.L.C.

   through the actions of its agents, representatives, and employees, disregarded the

   substantial risk of “imminent danger of serious physical injury” from being exposed

   to the debilitating and potentially fatal virus, HCV, from other inmates, infected

   with the hepatitis C virus, and subsequent progression of the hepatitis C infection,

   by

        • failing to provide HCV testing of inmates on intake into the Minnesota

           Department of Corrections system; or

        • failing to provide frequent testing of inmates after intake; or

        • failing to provide medical care; or


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          • failing to direct that medical care be provided; or

          • failing to enact policies to assure that Roe, Miles, and Stiles, and each and

             every respective plaintiff would obtain the medical care needed, specifically,

             (a) universal testing of all inmates for HCV upon intaking; (b) frequent,

             periodic testing of all inmates for HCV after intake, (c) minimization of all

             risks of HCV infection, and (d) treatment of inmates infected with HCV with

             Harvoni, Viekira-Pak, or other direct-acting, antiviral, lifesaving, curative

             medicines for their respective hepatitis C virus infections, in accordance with

             the national, community standard of care for hepatitis C established by

             expert, specialist gastroenterologists and hepatologists of the AASLD/IDSA.

   151.      Sixth, Plaintiffs Roe, Miles, and Stiles, and all other similarly situated

      persons, as the direct result of the failures and the policy decisions of defendants

      Minnesota Department of Corrections and Commissioner Roy, suffered injuries,

      specifically, spending each day facing “imminent danger of serious physical injury”

      from being exposed to the debilitating and potentially fatal virus, HCV, from other

      inmates, progression of their respective infections, increased symptoms, pain,

      suffering, fear, diminished enjoyment of life, and decreased life expectancy.

   152.      Seventh,    defendants    Minnesota     Department     of   Corrections    and

      Commissioner Roy, through through their agents, employees, or representatives,

      defendant Paulson, defendant Larson, and Defendant Centurion of Minnesota,

      L.L.C., jointly and severally, acted under color of law.

CLAIM VI: §504 OF THE REHAB. ACT OF 1973, 29 U.S.C. §§791-794a;


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NAMED PLAINTIFFS AND ALL PERSONS SIMILARLY SITUATED,
AGAINST DEFENDANT CENTURION OF MINNESOTA, L.L.C.

  153.      Plaintiffs reallege and reassert every claim and incorporated exhibit which

     constitute averments of imminent danger of serious physical, medical injury.

  154.      First, Plaintiffs Ligons, Michaelson, and all persons similarly situated, are

     individuals with a disability, specifically, HCV infection, a physical impairment that

     substantially affects the major life activities of digestive systems, circulatory systems,

     and life itself.

  155.      Second, Defendant Centurion of Minnesota, L.L.C., through the actions of

     its agents, employees, or representatives, and the kites and grievances of Plaintiffs,

     was actually aware of plaintiffs Ligons’ and Michaelson’s, and all other persons’

     similarly situated to them, respective disabilities.

  156.      Third, Defendant Centurion of Minnesota, L.L.C. is a recipient of federal

     monies for its program of providing medical services to the Minnesota Department

     of Corrections.

  157.      Fourth, Defendant Centurion of Minnesota, L.L.C., had a responsibility to

     assure proper care for Plaintiffs Ligons, Michaelson, and all other disabled persons

     similarly situated.

  158.      Fifth, Defendant Centurion of Minnesota, L.L.C. could have reasonably

     accommodated plaintiffs’ disabilities, so as not to exclude them from participation

     in, deny them the benefits of the federally funded services, programs, or activities

     of defendant Centurion of Minnesota, L.L.C., by reasonably accommodating



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   plaintiffs’ disabilities, by treatment with Harvoni, Viekira-Pak, or other direct-

   acting, antiviral, lifesaving, curative medicines for their respective hepatitis C virus

   infections, in accordance with the national, community standard of professional

   care for hepatitis C established by expert, specialist gastroenterologists and

   hepatologists of the AASLD/IDSA for {laintiffs’ respective hepatitis C infections.

159.     Sixth, Defendant Centurion of Minnesota, L.L.C., through the actions of its

   agents, employees, or representatives, had actual knowledge of a substantial risk

   that Plaintiff Michaelson, and all persons similarly infected with the hepatitis C

   virus, by delay of treatment with Harvoni or Viekira Pak, would suffer progression

   of the disability of hepatitis C infection that foreseeably would lead to aggravated or

   exacerbated serious medical harms including liver malfunction, liver fibrosis, liver

   cirrhosis, liver cancer, expensive liver transplant, or even death by liver

   malfunction.

160.     Seventh, Defendant Centurion of Minnesota, L.L.C., through its agents,

   employees, or representatives, failed to accommodate reasonably plaintiffs’ known

   disabilities, notwithstanding that compliance with the national, community standard

   of care for hepatitis C established by expert, specialist gastroenterologists and

   hepatologists of the AASLD/IDSA is, by medicine and law, not an undue

   hardship.

161.     Eighth, defendant Centurion of Minnesota, L.L.C., through its agents,

   employees, or representatives, disregarded the substantial risk of progression of the

   hepatitis C infection of Plaintiffs Ligons and Michaelson, and all persons similarly


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    infected with the hepatitis C virus, by

• failing to provide medical care; or

• failing to direct that medical care be provided; or

• failing to enact policies to assure that LIGONS, MICHAELSON, and each and

   every respective class member would obtain the medical care needed, specifically,

   treatment of them respectively, with Harvoni, Viekira-Pak, or other direct-acting,

   antiviral, lifesaving, curative medicines for their respective hepatitis C virus

   infections, in accordance with the national, community standard of care for hepatitis

   C established by expert, specialist gastroenterologists and hepatologists of the

   AASLD/IDSA; or

• failing to allow each and every respective plaintiff to obtain the medical care needed,

   specifically, treatment of them respectively, with Harvoni, Viekira-Pak, or other

   direct-acting, antiviral, lifesaving, curative medicines for their respective hepatitis C

   virus infections, in accordance with the national, community standard of care for

   hepatitis C established by expert, specialist gastroenterologists and hepatologists of

   the AASLD/IDSA;

162.      Ninth, Plaintiffs Ligons, Michaelson, and all other similarly situated qualified

    disabled persons afflicted with the hepatitis C virus, as the direct result of the

    failures, delayed treatment, and policy decisions of Centurion of Minnesota,

    L.L.C., suffered injuries that included progression of their respective infections,

    increased symptoms, pain, suffering, fear, diminished enjoyment of life, and

    decreased life expectancy.


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  163.      Tenth, defendant Centurion of Minnesota, L.L.C., as the contracted medical

     care provider of the Minnesota Department of Corrections, through its agents,

     employees, or representatives, acted with deliberate, reckless, knowing, or

     intentional disregard for the rights, health, and safety of the plaintiffs.

CLAIM VII: §504 OF THE REHAB. ACT OF 1973, 29 U.S.C. §§791-
794a; PLAINTIFFS LIGONS AND MICHAELSON, AND ALL PERSONS
SIMILARLY SITUATED, AGAINST DEFENDANTS MINNESOTA
DEPARTMENT OF CORRECTIONS AND COMM’R TOM ROY IN HIS
OFFICIAL CAPACITY

  164.      Plaintiffs reallege and reassert every claim and incorporated exhibit which

     constitute averments of imminent danger of serious physical, medical injury.

  165.      First, Plaintiffs Ligons, Michaelson, and all persons similarly situated, are

     individuals with a disability, specifically, HCV infection, a physical impairment that

     substantially affects the major life activities of digestive systems, circulatory systems,

     and life itself.

  166.      Second,     defendants     Minnesota     Department       of    Corrections    and

     Commissioner Tom Roy, through the actions of their agents, employees, or

     representatives, and the kites and grievances of Plaintiffs, were aware of plaintiffs

     Ligons’ and Michaelson’s, and all other persons’ similarly situated to them,

     respective disabilities.

  167.      Third, defendant Minnesota Department of Corrections is a recipient of

     federal monies for its incarceration programs.

  168.      Fourth,     defendants    Minnesota      Department       of   Corrections    and

     Commissioner Tom Roy had a responsibility to assure proper care for Plaintiffs


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   Ligons, Michaelson, and all other disabled persons similarly situated.

169.     Fifth, defendants Minnesota Department of Corrections and Commissioner

   Tom Roy could have reasonably accommodated plaintiffs’ disabilities, so as not to

   exclude them from participation in, or deny them the benefits of the federally

   funded services, programs, or activities of defendant Minnesota Department of

   Corrections, by reasonably accommodating plaintiffs’ disabilities, by treatment with

   Harvoni, Viekira-Pak, or other direct-acting, antiviral, lifesaving, curative medicines

   for their respective hepatitis C virus infections, in accordance with the national,

   community standard of care for hepatitis C established by expert, specialist

   gastroenterologists and hepatologists of the AASLD/IDSA for plaintiffs’ respective

   hepatitis C infections.

170.     Sixth, defendants Minnesota Department of Corrections and Commissioner

   Tom Roy, through the actions of their agents, employees, or representatives, had

   actual knowledge of a substantial risk that Plaintiff Michaelson, and all persons

   similarly infected with the hepatitis C virus, would suffer progression of the

   disability of hepatitis C infection that foreseeably would lead to aggravated or

   exacerbated serious medical harms including liver malfunction, liver fibrosis, liver

   cirrhosis, liver cancer, expensive liver transplant, or even death by liver

   malfunction.

171.     Seventh,    defendants    Minnesota     Department      of   Corrections     and

   Commissioner Tom Roy, through their agents, employees, or representatives,

   failed to accommodate reasonably plaintiffs’ known disabilities, notwithstanding


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    that compliance with the national, community standard of professional medical

    care for hepatitis C established by expert, specialist gastroenterologists and

    hepatologists of the AASLD/IDSA is, by medicine and law, not an undue

    hardship.

172.      Eighth,    defendants    Minnesota     Department    of    Corrections    and

    Commissioner Tom Roy, through their agents, employees, or representatives,

    disregarded the substantial risk of progression of the hepatitis C infection of

    Plaintiffs Ligons and Michaelson, and all persons similarly infected with the

    hepatitis C virus, by

• failing to provide medical care; or

• failing to direct that medical care be provided; or

• failing to enact policies to assure that LIGONS, MICHAELSON, and each and

   every respective class member would obtain the medical care needed, specifically,

   treatment of them respectively, with Harvoni, Viekira-Pak, or other direct-acting,

   antiviral, lifesaving, curative medicines for their respective hepatitis C virus

   infections, in accordance with the national, community standard of care for hepatitis

   C established by expert, specialist gastroenterologists and hepatologists of the

   AASLD/IDSA; or

• failing to allow each and every respective class member to obtain the medical care

   needed, specifically, treatment of them respectively, with Harvoni, Viekira-Pak, or

   other direct-acting, antiviral, lifesaving, curative medicines for their respective

   hepatitis C virus infections, in accordance with the national, community standard of


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    care for hepatitis C established by expert, specialist gastroenterologists and

    hepatologists of the AASLD/IDSA;

  173.      Ninth, Plaintiffs Ligons, Michaelson, and all other similarly situated qualified

     disabled persons afflicted with the hepatitis C virus, as the direct result of the

     failures and policy decisions of defendants Minnesota Department of Corrections

     and Commissioner Tom Roy, suffered injuries that included progression of their

     respective infections, increased symptoms, pain, suffering, fear, diminished

     enjoyment of life, and decreased life expectancy.

  174.      Tenth, defendants Minnesota Department of Corrections and Commissioner

     Tom Roy, through their agents, employees, or representatives, acted with

     deliberate, reckless, knowing, or intentional disregard for the rights, health, and

     safety of the plaintiffs.

CLAIM VIII: TITLE II OF THE ADAA, 42 U.S.C. §§12131-12132;
PLAINTIFFS    LIGONS,    MICHAELSON,    AND     ALL    PERSONS
SIMILARLY SITUATED, AGAINST DEFENDANTS MINNESOTA
DEPARTMENT OF CORRECTIONS AND COMM’R TOM ROY IN HIS
OFFICIAL CAPACITY

  175.      Plaintiffs reallege and reassert every claim and incorporated exhibit which

     constitute averments of imminent danger of serious physical, medical injury.

  176.      First, Plaintiffs Ligons, Michaelson, and all persons similarly situated, are

     individuals with a disability, specifically, HCV infection, a physical impairment that

     substantially affects the major life activities of digestive systems, circulatory systems,

     and life itself.

  177.      Second,     Defendants     Minnesota     Department      of    Corrections     and


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   Commissioner Tom Roy, through the actions of their agents, employees, or

   representatives, and the kites and grievances of Plaintiffs, were aware of plaintiffs

   Ligons’ and Michaelson’s, and all other persons’ similarly situated to them,

   respective disabilities.

178.     Third,     Defendants     Minnesota     Department      of    Corrections     and

   Commissioner Tom Roy had a responsibility to assure proper care for Plaintiffs

   Ligons, Michaelson, and all other disabled persons similarly situated.

179.     Fourth,     Defendants    Minnesota      Department      of   Corrections     and

   Commissioner Tom Roy could have reasonably accommodated Plaintiffs’

   disabilities, so as not to exclude them from participation in, or deny them the

   benefits of the federally funded services, programs, or activities of defendant

   Minnesota Department of Corrections, by reasonably accommodating plaintiffs’

   disabilities, by treatment with Harvoni, Viekira-Pak, or other direct-acting, antiviral,

   lifesaving, curative medicines for their respective hepatitis C virus infections, in

   accordance with the national, community standard of professional medical care for

   hepatitis C established by expert, specialist gastroenterologists and hepatologists of

   the AASLD/IDSA for Plaintiffs’ respective hepatitis C infections.

180.     Fifth, defendants Minnesota Department of Corrections and Commissioner

   Tom Roy, through the actions of their agents, employees, or representatives, had

   actual knowledge of a substantial risk that Plaintiffs Ligons and Michaelson, and all

   persons similarly infected with the hepatitis C virus, would suffer progression of the

   disability of hepatitis C infection that foreseeably would lead to aggravated or


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    exacerbated serious medical harms including liver malfunction, liver fibrosis, liver

    cirrhosis, liver cancer, expensive liver transplant, or even death by liver

    malfunction.

181.      Sixth, defendants Minnesota Department of Corrections and Commissioner

    Tom Roy, through their agents, employees, or representatives, failed to

    accommodate reasonably plaintiffs’ known disabilities, notwithstanding that

    compliance with the national, community standard of care for hepatitis C

    established by expert, specialist gastroenterologists and hepatologists of the

    AASLD/IDSA is, by medicine and law, not an undue hardship, nor does it

    constitute an unreasonable modification of the Minnesota Department of

    Corrections program.

182.      Seventh,    defendants    Minnesota     Department     of    Corrections    and

    Commissioner Tom Roy, through their agents, employees, or representatives,

    disregarded the substantial risk of progression of the hepatitis C infection of

    Plaintiffs Ligons an Michaelson, and all persons similarly infected with the hepatitis

    C virus, by

• failing to provide medical care; or

• failing to direct that medical care be provided; or

• failing to enact policies to assure that LIGONS, MICHAELSON, and each and

   every respective class member would obtain the medical care needed, specifically,

   treatment of them respectively, with Harvoni, Viekira-Pak, or other direct-acting,

   antiviral, lifesaving, curative medicines for their respective hepatitis C virus


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       infections, in accordance with the national, community standard of care for hepatitis

       C established by expert, specialist gastroenterologists and hepatologists of the

       AASLD/IDSA; or

   • failing to allow each and every respective class member to obtain the medical care

       needed, specifically, treatment of them respectively, with Harvoni, Viekira-Pak, or

       other direct-acting, antiviral, lifesaving, curative medicines for their respective

       hepatitis C virus infections, in accordance with the national, community standard of

       care for hepatitis C established by expert, specialist gastroenterologists and

       hepatologists of the AASLD/IDSA;

    183.       Eighth, Plaintiffs Ligons, Michaelson, and all other similarly situated

        qualified disabled persons afflicted with the hepatitis C virus, as the direct result of

        the failures and policy decisions of defendants Minnesota Department of

        Corrections and Commissioner Tom Roy, suffered injuries that included

        progression of their respective infections, increased symptoms, pain, suffering, fear,

        diminished enjoyment of life, and decreased life expectancy.

    184.       Ninth, defendants Minnesota Department of Corrections and Commissioner

        Tom Roy, through their agents, employees, or representatives, acted with

        deliberate, reckless, knowing, or intentional disregard and indifference for the

        federally rights, health, and safety of the plaintiffs.

                                  RELIEF DEMANDED

WHEREFORE Plaintiffs LIGONS, MICHAELSON, and all similarly situated Plaintiffs

pray for the following relief:


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1. Judgment against the Defendants, jointly and severally;

2. Certification of the classes and subclasses of Plaintiffs named above;

3. For named Plaintiffs Ligons and Michaelson, and members of the Plaintiff classes

   and subclasses, Declaratory Judgment that the Defendant MINNESOTA

   DEPARTMENT OF CORRECTIONS hepatitis C policy violates Title II of the

   Americans with Disabilities Act as Amended, §504 of the Rehabilitation Act of

   1973, and U.S. Const. amend. VIII and XIV through 42 U.S.C. § 1983;

4. For named Plaintiffs Ligons and Michaelson, and members of the Plaintiff classes

   and subclasses,

   a. Permanent injunction against the perpetuation of the MINNESOTA

       DEPARTMENT OF CORRECTIONS forty-eight week hepatitis C treatment

       protocol using toxic Interferon injections;

   b. Permanent injunction against the perpetuation of the MINNESOTA

       DEPARTMENT OF CORRECTIONS hepatitis C treatment protocol that

       conditions hepatitis C treatment on prior completion of chemical dependency

       treatment;

   c. Permanent injunction against the perpetuation of the MINNESOTA

       DEPARTMENT OF CORRECTIONS hepatitis C treatment protocol that

       withholds anti-viral medication treatment for inmates until the inmate presents

       evidence of liver fibrosis, liver scarring, cirrhosis of the liver, or liver cancer;

   d. Permanent injunction against the perpetuation of the MINNESOTA

       DEPARTMENT OF CORRECTIONS hepatitis C treatment protocol that


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       does not administer anti-viral hepatitis C medication to inmates with twelve or

       more weeks in MINNESOTA DEPARTMENT OF CORRECTIONS custody

       immediately upon a positive test for HCV; and

   e. Permanent injunction against any MINNESOTA DEPARTMENT OF

       CORRECTIONS policy that does not test inmates upon intake for HCV, as

       MINNESOTA DEPARTMENT OF CORRECTIONS does for HIV/AIDS;

5. For Plaintiffs LIGONS and MICHAELSON, equitable relief to order the

   immediate commencement of the one pill per day, twelve week hepatitis C

   treatment in accordance with the June 29, 2015 AASLD/IDSA standard of care,

   WITHOUT first requiring plaintiffs to undergo chemical dependency treatment;

6. For Plaintiffs ROE, MILES, AND STILES, (a) identification of all MINNESOTA

   DEPARTMENT OF CORRECTIONS inmates with twelve or more weeks

   remaining in their sentences who where denied hepatitis C treatment in accordance

   with the June 29, 2015 AASLD/IDSA standard of care, WITHOUT first requiring

   plaintiffs to undergo chemical dependency treatment, (b) identification of all

   MINNESOTA DEPARTMENT OF CORRECTIONS inmates with twelve or

   more weeks remaining in their sentences who where denied hepatitis C treatment

   since December 2013 for non-completion of chemical dependency treatment, (c)

   provision of the one pill per day, twelve week DAA medication treatment in

   accordance with the June 29, 2015 AASLD/IDSA standard of care, WITHOUT

   first requiring plaintiffs to undergo chemical dependency treatment;

7. to all inmates with twelve or more weeks left in their sentences who test positive for


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   hepatitis C, (d) screening of all current MINNESOTA DEPARTMENT OF

   CORRECTIONS inmates for hepatitis C immediately, (e) immediate screening of

   all newly admitted MINNESOTA DEPARTMENT OF CORRECTIONS inmates

   for hepatitis C, consistent with the screening protocols for HIV/AIDS virus;

8. For Plaintiffs LIGONS and MICHAELSON, an award of appropriate

   compensatory damages against Defendants Quiram, Hanson, Larson, Paulson, and

   Centurion of Minnesota, L.L.C., jointly and severally, for all claims for which

   compensatory damages are available, in an amount to be determined by jury;

9. For Plaintiffs LIGONS and MICHAELSON, an award of punitive damages against

   Defendants Quiram, Hanson, Larson, and Paulson, sued in their respective

   individual capacities, and CENTURION OF MINNESOTA, L.L.C., jointly and

   severally, for claims arising under U.S. Const. amend. VIII and XIV, in an amount

   to be determined at trial by jury;

10. Prejudgment interest;

11. Postverdict interest;

12. Costs and disbursements;

13. Reasonable attorney fees in accordance with 42 U.S.C. § 1988; and

14. Such other relief as the court deems just and equitable.




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PLAINTIFFS DEMAND JURY TRIAL ON ALL CLAIMS TRIABLE TO THE JURY.

Date:29 Octoer 2015 Respectfully submitted:

                    PETER J. NICKITAS LAW OFFICE, L.L.C.

                    /s/Peter J. Nickitas

                    ______________________________________
                    Peter J. Nickitas, MN Att’y #212313
                    Attorney for the Plaintiffs
                    431 S. 7th St., Suite 2446
                    P.O. Box 15221
                    Minneapolis, MN 55415-0221
                    612.440.7285 (o)/651.238.3445 (m)/1.888.389.7890 (f)
                    peterjnickitaslawllc@gmail.com

AS AMICUS CURIAE:

                    INTERNATIONAL HUMANITARIAN LAW INSTITUTE

                    /s/Peter J. Nickitas

Date: 29 October 2015
                   __________________________________________________
                    Peter J. Nickitas, MN Att’y #212313
                    Litigation Director, Int’l Humanitarian Law Institute
                    C. Peter Erlinder, Prof. (Ret.), Founding Director
                    325 Cedar St., Suite 308
                    St. Paul, MN 55101
                    651.340.1271/FAX 651.340.0357/proferlinder@gmail.com
                    IL Att’y #3124291/8th Cir. Adm’n: 11/06/1984
                    Pro bono post-conviction counsel for Ronaldo Ligons,
                    State v. Ligons, 9200218, A06-2371, and A07-0957; and
                    Ligons v. King, 11-1630 (8th Cir. 2011)




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